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                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO

 KEVIN S. and CHRIS W., children, by Bette
 Fleishman, their Next Friend; JENNIFER H., a
 child, by Liz McGrath, her Next Friend;
 DIANA D., a child, by Ernestina R. Cruz, her
 Next Friend; BRIAN J., a child, by Matthew
 Bernstein, his Next Friend; ELLIOT J. and
 MICHAEL J., children, by Feliz Rael, their
 Next Friend; OLIVIA L., a child, by Georgia
 Berrenberg, her Next Friend; MATTY B.,
 JUSTIN B., and JACKSON B., children, by       Civ. Action No. 1:18-cv-00896
 Gabrielle Valdez, their Next Friend; LUCAS
 M. and JULIAN M., children, by Mariel
 Willow, their Next Friend; DAVID G., a child,
 by Ashley Mackenzie, his Next Friend; on
 behalf of themselves and all others similarly
 situated; DISABILITY RIGHTS NEW
 MEXICO; and NATIVE AMERICAN
 DISABILITY LAW CENTER,

                      Plaintiffs,

        v.

 MONIQUE JACOBSON, in her official
 capacity as Secretary for the Children, Youth
 and Families Department, and BRENT
 EARNEST, in his official capacity as
 Secretary for the Human Services Department,

                      Defendants.



 STIPULATED SUPPLEMENTAL CONFIDENTIALITY AND PROTECTIVE ORDER

                              PRELIMINARY STATEMENT

       The Parties have entered into a Settlement Agreement (the “Agreement”) that sets forth

processes for ongoing exchanges of information among the Parties and the “Co-Neutrals”
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appointed in the Agreement. Many of the documents and much of the information (“Materials”

as defined herein) to be exchanged through the processes described in the Agreement are

normally kept confidential by the parties. The Materials may contain confidential, proprietary,

or private information, as is contemplated by Federal Rule of Civil Procedure 26(c)(1), for which

special protection from public disclosure and from use for any purpose other than implementing

the Agreement may be warranted. The parties and the Co-Neutrals have agreed to be bound by

the terms of this Stipulated Confidentiality and Protective Order (“Order”) in this action to

facilitate the exchange of information, and protect the respective interests of the parties in their

confidential, proprietary, or private information. This Order shall remain in effect unless

modified pursuant to the terms contained in this Order.

                               STATEMENT OF GOOD CAUSE

       There is good cause for this protective order. The individual plaintiffs in this action are

all minors. The implementation of the Agreement action is likely to involve Children Youth and

Families Department (“CYFD”) official files that are confidential pursuant to NMSA § 32A-4-

33, education records, disciplinary records, personal information, and medical information of

minors involved in the child welfare system and their families. Special protection for these files,

records, and information from public disclosure and from use for any purpose other than the

prosecution of this action is warranted. The implementation of the Agreement also is likely to

involve Human Services Department (“HSD”) files, including medical and behavioral health

records of minors that are protected by state and federal confidentiality laws. Such confidential

and sensitive materials and information consist of, among other things, confidential behavioral

health, and physical health records; confidential educational records; confidential discipline

records and alleged infractions of students; the confidential and sensitive history of the

individual plaintiffs’ personal lives including, but not limited to, experiences of abuse and
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neglect and details which may subject them to retaliation in the form of physical harm or

economic loss; and other information generally unavailable to the public, or which may be

privileged or otherwise protected from disclosure under state or federal statutes, court rules, case

decisions, or common law.

       Further, CYFD official files concerning the plaintiff children, and possibly documents in

possession of other parties, may constitute confidential records pursuant to NMSA § 32A-4-33.

However, the Co-Neutrals and counsel for all parties in this case have a legitimate interest as

provided in NMSA § 32A-4-33(16) in the records concerning the parties to this action.

       Accordingly, to expedite the flow of information, to facilitate the prompt resolution of

disputes over confidentiality of materials, to adequately protect information the parties are

entitled to keep confidential, to ensure that the parties and the Co-Neutrals are permitted

reasonable necessary uses of such material in implementing the Agreement, to address their

handling at the expiry of the Agreement, and to serve the ends of justice, a confidentiality and

protective order for such information is justified in this matter.

       IT IS THEREFORE ORDERED THAT:

   1. Counsel for CYFD will provide electronic access and/or will make available copies of all

files requested by the Co-Neutrals to the Co-Neutrals and to all counsel as described in Sections

VI and VII of the Agreement.

   2. HSD will provide electronic access and/or will make available copies of all files requested

by the Co-Neutrals to the Co-Neutrals and to all counsel as described in Sections VI and VII of

the Agreement.

   3. Any document or information produced or exchanged by any of the parties to this




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action, or the Co-Neutrals and their staff and/or consultants, or any of their attorneys, which a party

or Co-Neutral believes is of a confidential nature, may be designated as Confidential. All such

documents, and all copies (referred to collectively as “Confidential Information”), shall be treated

as confidential and shall not be disclosed except as provided in this Order.

   4. The following categories of documents may be designated as “Confidential Information”:

                  CYFD official files that are confidential pursuant to NMSA § 32A-4-33;
                  HSD official files that are confidential;
                  Private medical and/or behavioral health information;
                  Private health insurance information;
                  Confidential student educational records;
                  Confidential information regarding discipline;
                  Information about the history of the children’s personal life.

Information or documents that are available to the public or that have not previously been kept in

a confidential manner may not be designated as “Confidential Information.” A party or Co-

Neutral may designate documents described in this order as Confidential Information by

imprinting the word “Confidential” on the document or by identifying documents as Confidential

in writing at the time of transmission.

   5. Each and every page of each document designated as Confidential Information shall be

stamped or marked. If it is not feasible to stamp or mark each page of a document, appropriate

measures, such as the use of binders or containers to house such documents shall be taken.

   6. Neither the Confidential Information, nor its contents, shall be disclosed to any other

person without the agreement of the party or Co-Neutral who designates the information as

confidential, except that counsel or Co-Neutrals may, without further agreement or court order,

disclose the Confidential Information to the following persons for use solely in connection with

this action under the following conditions:




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              A. Attorneys and legal assistants of counsel’s firm and to any other employees of

                  counsel’s firm who shall handle the Confidential Information under normal

                  office procedure;

              B. The individually named parties to this action and Guardians ad Litem and Youth

                  Attorneys for individual children;

              C. Co-Neutrals, and/or staff and/or consultants hired by the Co-Neutrals as

                  described in the Agreement;

              D. Experts or consultants retained by the parties with respect to this action;

              E. Any person from whom testimony is taken or is reasonably expected to be taken

                  in this action (whether in deposition or at trial);

              F. Any court reporters present in their official capacity at any hearing, deposition,

                  or other proceeding in this action when such information is necessary for the

                  court reporters to do their jobs.

              G. Any third party who will arrange for copying and delivery of the documents

                  pursuant to this Protective Order (i.e. a courier service or copy service).

              H. The Court and any Court staff and administrative personnel.

              I. Any mediator, arbitrator, court of competent jurisdiction, or neutral third party

                  mutually agreed upon by the parties, including the arbitrator described in the

                  Agreement.

   7. Individuals authorized to review Confidential Information pursuant to this Protective Order

shall hold the Confidential Information in confidence and shall not divulge the Confidential

Information, either verbally or in writing, to any other person or entity, except as provided in




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Paragraph 6 above. Individuals given access to Confidential Information under 9(C) or 9(D) of

this Order shall be provided with a copy of and shall be bound by this Order.

   8. The party’s counsel or Co-Neutral who receives Confidential Information or discloses

Confidential Information to authorized persons as provided in Paragraph 6 above shall be

responsible for assuring compliance with the terms of this Protective Order.

   9. No copies of Confidential Information shall be made except by, or on behalf of counsel in

this litigation and the Co-Neutrals, and such copies shall be made and used solely for purposes of

implementing the terms of the Agreement. All individuals who have been provided with

Confidential Information in the context of this case and in the course of the implementation of the

Agreement will be bound by the terms of this Order.

   10. If a party or Co-Neutral objects to the designation of documents or other information as

“Confidential Information”, the party or Co-Neutral shall promptly inform all parties’ counsel and

all Co-Neutrals in writing of the specific grounds of objection to the designation. All counsel and

the Co-Neutrals shall then, in good faith and on an informal basis, attempt to resolve the dispute.

If after such good faith attempt, all counsel and the Co-Neutrals are unable to resolve the dispute,

the party or Co-Neutral opposing the designation of documents or other information as

“Confidential Information” may move for a disclosure order from the arbitrator or a court of

competent jurisdiction consistent with this Order. The documents or information shall continue to

have Confidential Information status from the time it is produced until the ruling by the arbitrator

or a court on the motion.

   11. Counsel for the party designating any document as Confidential may, in writing and

without arbitrator or court approval, agree to release any of the Confidential Information from the

requirements of this Order.



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   12. Nothing in this Order shall be read to modify the parties’ obligations under the Agreement,

including the obligation to make public certain final reports and plans as specified in the

Agreement.

   13. Neither the conclusion of this action nor the expiry of the Agreement shall relieve counsel,

the Co-Neutrals, or other persons obligated under this Protective Order from their responsibility

to maintain the confidentiality of Confidential Information pursuant to this Protective Order. A

party may seek leave to reopen the case to enforce this Protective Order’s provisions if the case

has terminated or may seek to enforce this Order through the dispute resolution procedure in the

Agreement.

   14. After the expiry of the Agreement, the Co-Neutrals and counsel of record for each of the

Parties shall either return or destroy the Confidential Material that is the subject of this Protective

Order and is no longer needed for record-keeping or documentation requirements imposed by law

or contractual requirements and provide written confirmation to the other counsel of record that

the return or destruction of the Confidential Material has occurred.

   15. Nothing in this Protective Order shall preclude any party from filing a motion seeking

further or different protection from the Court under Federal Rules of Civil Procedure 26 or 37.

   16. This Order shall remain in effect unless modified by the Court.

The terms of this protective order do not preclude, limit, restrict, or otherwise apply to the use of

documents at court proceedings, in arbitration, or in the implementation of the Agreement. Subject

to the Federal Rules of Evidence, a confidential document may be offered into evidence at trial or

any court or arbitration hearing, provided that the proponent of the evidence gives advance notice

to opposing counsel of the intended use of the confidential document as may be required by a

scheduling or other order. Any party may move the Court or arbitrator for an order that the



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confidential document be received in camera or under other conditions to prevent unnecessary

disclosure. The Court or arbitrator will then determine whether the proffered evidence should

continue to be treated as a confidential document and, if so, what protection(s) may be afforded to

such information at the trial or hearing.



                                             ________________________________
                                             LAURA FASHING
                                             UNITED STATES MAGISTRATE JUDGE



Agreed, Stipulated and Submitted by:

Approved:

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